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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND
NORTHERN DIVISION

In the Matter of the Petition

of
GRACE OCEAN PRIVATE LIMITED, as
Owner of the M/V DALI,

sad Docket No. JKB 24-CV-941

SYNERGY MARINE PTE LTD, as Manager of

the M/V DALI,

| for Exoneration from or Limitation of Liability.

CLAIM OF TIMOTHY MARK WILSON FOR LOSSES INCURRED
I. Claimant Information

Timothy Mark Wilson

17 Magenta Crescent, Mitchelton,
Brisbane, Australia, 4035

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timothy. wilson! l@defence.gov.au
Il. Claim

| am filing a claim against the Petition for Limitation of Liability filed by Grace Ocean Private

Limited and Synergy Marine Pte Ltd. ("Petitioners") in the above-entitled action. The Petitioners

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seek to limit all liability resulting from allision of the M/V Dali with the Francis Scott Key

Bridge.

| am filing this claim as the owner of a container of household goods that were aboard the M/V

DALI and were significantly delayed due to the incident, incurring tangible losses as a result.
Ill. Damages

| moved with my wife, toddler, and infant child from the USA to Australia, and while | hada
small consignment of household goods in air freight, it was not sufficient to sustain my family
for the extended shipping delays. I have been forced to repurchase essential household items
which, but for the delays to the petitioners’ vessel, would not have been necessary. These costs

incurred or anticipated, detailed in Annex A, total $6,054 AUD

Note: receipts are not available for purchases, due to a combination of factors:

Many early purchases being made on a Bank of America credit card, the account
associated with which is now clused.

® E(forts to mitigate damages/loss by purchasing items second hand, without receipts;

© Anoversight in not considering ita priority when dealing with a stressful situation and

supporting my young family through an international move.
To support my claim, I am providing the following evidence:

* Exhibit A: Bill of Lading: A copy of the bill of lading is attached, which clearly
demonstrates my ownership of the goods that were on board the M/¥V DALI.
e Exhibit B: Freight Inventory: Full inventory of items aboard the vessel. This

demonstrates the value of the items, most of which are substantially more than the

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damages claimed, demonstrating the reasonableness of the claim, and providing evidence
of my efforts to mitigate my losses through frugal limitations on purchases.

* Exhibit C: Air Freight Inventory: Listed to supplement the Sea Freight Inventory above,
as several items were moved to Sea Freight due to space constraints.

© Exhibit D: Email from Allied International. This email provides evidence of which items
listed on Air Freight Inventory were in fact aboard the M/V Dali and are therefore within
the scope of this claim.

e Exhibit E: Email from Rank of America: This provides evidence of why bank statements
supporting purchase values are unavailable, by confirming that the account used for many

purchases immediately upon my arrival in Australia is now closed.
IV. Relief Requested

| request that the Court deny the Petitioners’ limitation of liability and grant me full
compensation for the damages | have incurred and reasonable anticipate, totalling $6054 AUD, I
further request to reserve the right to pursue future damages, up to the full value of $83,405, as I

have not received evidence that my container is accounted for and undamaged.
V. Verification

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

—_
Timothy Mark Wilson

24 September, 2024.

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Filing and Service

| understand that the deadline for filing claims is September 24, 2024. lam submitting this claim

within the designated timeframe.
| have served this claim cn the Petitioners’ attorney's, as follows:

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Annex A— Costs Incurred or Anticipated Due Shipping Delays

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Table 1. Essential houschold items which have been replaced:

no | Item description Inventory ref Cost / Value
1 | Crib Attachment B, Supplementary Sht (3), item 8 300
2 | Crib Mattress Attachment B, Supplementary Sht (3), item 11__| 500
3 | Pram seat, Adaptors | Attachment C, Supplementary Sht, item 9 319
4 | Children’s Clothing | Attachment C, Clothing, item 7 500
5 | Adult Clothing inel. | Attachment C, Clothing, items 6&7 800
business wear :
6 | Misc. Children’s Attachment B, Supplementary Sht 3, items 1-7 | 500
toys Attachment C, Supplementary Sht, item_]
7 | Children’s Books Attachment B, Recreational Items, item 14 300
8 | Misc. Kitchenware | Attachment B, Kitchenware 400
9 | Baby Swing Attachment B, Electrical Items, item _] 70
10 | Baby Change Table_| Attachment C, Supplementary Sht, item 1 135
11 | Baby Gates Attachment C, Supplementary Sht, items 5 & 6 | 210
Total Cost 4034

Table 2. Anticipated future expenses, due to the change of scason requiring clothing

appropriate for tropical Australian summer, and my child outgrowing his crib.

no | Item description Inventory ref Cost

l Toddler Floor Bed Attachment B, Supplementary Sht (3), 650
item 9

2 Pram Rain covers & basket Attachment C, Supplementary Sht, item 9 | 120

3 Summer linen bedsheets Attachment B, Linen, item 9. 250

4 Men’s summer business attire | Attachment B, Clothing, item 14. 500

5 Women’s summer attire Attachment B, Clothing, item 13 500
Total Cost 2020

Note that every reasonable effort has been made to minimize losses. the costs incurred are well

below the inventory value of the delayed items,

approximately 7% of the total value of the household goods being shipped.

and the total expenses incurred and anticipated is

Further Note: Attachment C references items which were listed to be shipped via Air Freight.

Exhibit E provides evidence that a proportion of the items assigned to Air Freight were moved to

Sea Freight by the carrier due to space constraints.

